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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 SNEAKER MATCH, LLC,
 an Arizona Limited Liability Company,

        Plaintiff,                                      Case No.:

                v.

 JOHN DOES 1-10,

       Defendants.
________________________________________________________________

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       For this Complaint and Demand for Jury Trial in this matter, Plaintiff Sneaker Match, LLC,

by and through its attorneys Revision Legal, PLLC, states as follows:

                                           PARTIES

       1.      Plaintiff Sneaker Match, LLC (“Sneaker Match”) is an Arizona Limited Liability

Company.

       2.      Upon information and belief, Defendants John Does 1-10 (“Defendants”) are

residents of Vietnam, China, or other countries in southeast Asia.

                                JURISDICTION AND VENUE

       3.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17

U.S.C. § 501, et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

       4.      Personal jurisdiction is proper over Defendants because exercise thereof would not

offend traditional notions of fair play or substantial justice because Defendants have purposefully




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availed themselves of this forum state, the cause of action arises from Defendants’ activities here,

and the Defendants’ actions have caused damage to Sneaker Match in the state of Illinois.

        5.      Specifically, Defendants purposefully and intentionally availed themselves of this

forum state by manufacturing, importing, distributing, offering for sale, displaying, advertising,

and selling counterfeit goods bearing Sneaker Match’s creative works, by manufacturing,

importing, distributing, offering for sale, displaying, advertising, and selling counterfeit goods

bearing Sneaker Match’s trademark, by creating and operating interactive websites that reveal

specifically intended interactions with residents of the State of Illinois, and by creating and running

social media and Google advertisements selling counterfeit goods specifically to residents of the

State of Illinois.

        6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores operating under several aliases. Specifically,

Defendants have targeted sales to Illinois residents by setting up and operating e-commerce stores

that target United States consumers using one or more aliases identified in Schedule A attached

hereto at Exhibit 4 (“Aliases”). They offer shipping to the United States, including Illinois, accept

payment in U.S. dollars and, on information and belief, have sold products using infringing and

counterfeit versions of Sneaker Match’s federally registered trademarks, copyrighted designs, or

both to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is

engaging in interstate commerce, and has wrongfully caused Sneaker Match substantial injury in

the State of Illinois.




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                                        STATEMENT OF FACTS

                                             Introduction

          7.     This action has been filed by Sneaker Match to combat e-commerce store operators

who trade upon Sneaker Match’s reputation and goodwill by offering for sale and/or selling

unauthorized and unlicensed products, using infringing and counterfeit versions of Sneaker

Match’s federally registered trademarks and copies of Sneaker Match’s federally registered

copyright protected Works (the “Counterfeit Products”). Defendants create e-commerce stores

operating under one or more Aliases that are advertising, offering for sale, and selling Counterfeit

Products to unknowing consumers. E-commerce stores operating under the Aliases share unique

identifiers, which establishes a logical relationship between them and establishes that Defendants’

counterfeiting operation arises out of the same transaction, occurrence, or series of transactions or

occurrences. Defendants attempt to avoid and mitigate liability by operating under one or more

Aliases to conceal both their identities and the full scope and interworking of their counterfeiting

operations. Sneaker Match is forced to file this action to combat Defendants’ counterfeiting of the

registered trademarks and copyrights, as well as to protect unknowing consumers from purchasing

Counterfeit Products over the Internet. Sneaker Match has been and continues to be irreparably

damaged through infringement of its valuable trademarks and copyrights as a result of Defendants’

actions and seeks injunctive and monetary relief.

                                          Plaintiff’s Business

          8.     Sneaker Match began in June of 2014 based on the unique business concept of

selling    t-shirts   customized   to    coordinate    with   popular   sneakers   online   via   the

www.sneakermatchtees.com website.




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       9.      The Sneaker Match business model has been a wild success. Sneaker Match has

sold products including t-shirts, sweatshirts, hats, and recently, face masks, on its website

throughout the United States and internationally via its online retail store services.

       10.     The Sneaker Match business has grown based on its online presence and reputation.

The majority of Sneaker Match’s site traffic is a result of organic search traffic as opposed to paid

advertising.

       11.     Sneaker Match is a global business with online retail services via a state-of-the-art

website and marketing and advertising online across social media channels.

                               Plaintiff’s Registered Trademarks

       12.     Sneaker Match has taken significant steps to protect and register its trademark

rights with the United States Patent and Trademark Office (“USPTO”) as follows:

     Registration               Trademark             Registration Date         Goods/Services
       Number
 5,010,674               SNEAKER         MATCH August 2, 2016                 On-line retail store
                         TEES                                                 services featuring
                                                                              apparel, footwear,
                                                                              watches, wallets,
                                                                              hats, messenger
                                                                              bags, backpacks,
                                                                              bandanas,
                                                                              underwear, belts,
                                                                              printed matter, toys,
                                                                              jewelry, sunglasses,
                                                                              and accessories;
                                                                              Retail store services
                                                                              featuring apparel,
                                                                              footwear, watches,
                                                                              wallets, hats,
                                                                              messenger bags,
                                                                              backpacks,
                                                                              bandanas,
                                                                              underwear, belts,
                                                                              printed matter, toys,
                                                                              jewelry, sunglasses,
                                                                              and accessories.


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5,784,852          SNEAKER MATCH            June 25, 2019     On-line retail store
                                                              services featuring
                                                              apparel, footwear,
                                                              watches, wallets,
                                                              hats, messenger
                                                              bags, backpacks,
                                                              bandanas,
                                                              underwear, belts,
                                                              printed matter, toys,
                                                              jewelry, sunglasses,
                                                              and accessories;
                                                              Retail store services
                                                              featuring apparel,
                                                              footwear, watches,
                                                              wallets, hats,
                                                              messenger bags,
                                                              backpacks,
                                                              bandanas,
                                                              underwear, belts,
                                                              printed matter, toys,
                                                              jewelry, sunglasses,
                                                              and accessories;
                                                              Retail stores
                                                              featuring apparel,
                                                              footwear, watches,
                                                              wallets, hats,
                                                              messenger bags,
                                                              backpacks,
                                                              bandanas,
                                                              underwear, belts,
                                                              printed matter, toys,
                                                              jewelry, sunglasses,
                                                              and accessories




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 6,345,104               SNEAKER MATCH               11 May, 2021       On-line retail store
                         DESIGN MARK                                    services featuring
                                                                        apparel, t-shirts,
                                                                        hoodies, Hats, and
                                                                        accessories.

                          The color(s) black,
                         white, and red is/are
                         claimed as a feature of
                         the mark. The mark
                         consists of word
                         "SNEAKER" in white
                         bold uppercase
                         lettering. with the word
                         "SNEAKER" located
                         vertically aligned above
                         the word "MATCH"
                         and the word "TEES".
                         The Word
                         "SNEAKER" has the
                         combined horizontal
                         width of words
                         "MATCH TEES".
                         Word "MATCH" is in
                         white light uppercase
                         font centered inside a
                         RED Rectangle box.
                         The word "Tees" is in
                         white uppercase bold
                         lettering. Mark includes
                         a black solid
                         background and reads
                         "SNEAKER MATCH
                         TEES" from top to
                         bottom and left to right.



       13.     Sneaker Match has used the marks above (collectively the “Sneaker Match Marks”)

continuously and exclusively on online retail store services as well as goods including apparel

since at least as early as June 2014.

       14.     Examples of how Plaintiff uses the Sneaker Match Marks are depicted below:



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                          Plaintiff’s Website Header:




             Product Listing Image and example of Hang Tag use:




           Website Product Listing Description (highlighting added):


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       15.    Sneaker Match has expended significant efforts and sums in developing the Sneaker

Match brand, business, and advertising under the Sneaker Match Marks.

       16.    As a result of Sneaker Match’s consistent, continuous, and exclusive use of the

Sneaker Match Marks in commerce, the marks have become well and favorably known across the

United States and internationally and Sneaker Match has obtained common law trademark rights

in and to the Sneaker Match Marks.

                                Plaintiff’s Registered Copyrights

       17.    Sneaker Match owns several US Copyright Registrations for its unique designs that

it makes available for sale on its website (“Sneaker Match Works”):

                      a.     Sneaker     Match       owns   US   Copyright   Registration   no.

              VA0002200361 for the work titled “Misfit Teddy.” A reproduction of that work is

              depicted below:




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              b.     Sneaker     Match       owns   US   Copyright   Registration   no.

       VA0002200728for the work titled “Young & Heartless Bear.” A reproduction of

       that work is depicted below:




              c.     Sneaker     Match       owns   US   Copyright   Registration   no.

       VA0002222471 for the work titled “Misunderstood Bear.” A reproduction of that

       work is depicted below:




              d.     Sneaker     Match       owns   US   Copyright   Registration   no.

       VA0002232119 for the work titled “Misunderstood Bunny.” A reproduction of that

       work is depicted below:




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               e.     Sneaker     Match        owns   US   Copyright   Registration   no.

        VA0002221799 for the work titled “Misunderstood Monkey” A reproduction of

        that work is depicted below:




               f.     Sneaker     Match        owns   US   Copyright   Registration   no.

        VA0002226336 for the work titled “Misunderstood Puppy.” A reproduction of that

        work is depicted below:




               g.     Sneaker     Match        owns   US   Copyright   Registration   no.

        VA0002230668 for the work titled “Misunderstood Rhino.” A reproduction of that

        work is depicted below:




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               h.     Sneaker     Match        owns   US   Copyright   Registration   no.

        VA0002221669 for the work titled “Misunderstood Tiger.” A reproduction of that

        work is depicted below:




               i.     Sneaker     Match        owns   US   Copyright   Registration   no.

        VA0002222472 for the work titled “Voodoo Sneaker Bear.” A reproduction of that

        work is depicted below:




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                       j.      Sneaker    Match         owns   US   Copyright   Registration   no.

               VA0002231696 for the work titled “Heartless Bear.” A reproduction of that work

               is depicted below:




                               Defendants’ Infringing Businesses

       18.     The success of the Sneaker Match business has resulted in rampant counterfeiting

and infringement. Sneaker Match has put forth a concerted effort to combat the counterfeiting

activities complained of herein. The Sneaker Match anti-counterfeiting efforts include

investigating suspicious e-commerce stores identified via proactive review of online sales and

advertising activity. Sneaker Match has identified numerous e-commerce stores including those

operating under the Aliases, which were and currently are offering for sale and/or selling

Counterfeit Products to consumers in this Judicial District and throughout the United States.

Ecommerce sales, including sales via Defendants’ stores, have resulted in a sharp increase in the

importation of unauthorized products into the United States. Over 90% of all CBP intellectual

property seizures were smaller international mail and express shipments (as opposed to large

shipping containers). Over 85% of CBP seizures originated from mainland China and Hong Kong.

Counterfeit and pirated product account for billions in economic losses, resulting in tens of

thousands of lost jobs for legitimate businesses and broader economic losses, including lost tax

revenue. Exhibit 1, Excerpts from Fiscal year 2018 U.S. Customs and Border Protection (“CBP”)

Intellectual Property Seizure Statistics Report.


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        19.     Ecommerce service providers, like those used by Defendants to support their online

retail websites, do not subject sellers to adequate identity verification and confirmation procedures.

This allows counterfeiters to “routinely use false or inaccurate names and addresses when

registering with these e-commerce platforms.” Exhibit 2, Daniel C.K. Chow, Alibaba, Amazon,

and Counterfeiting in the Age of the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see

also report on “Combating Trafficking in Counterfeit and Pirated Goods” prepared by the U.S.

Department of Homeland Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached

as Exhibit 3, and finding that on “at least some e-commerce platforms, little identifying

information is necessary for a counterfeiter to begin selling” and recommending that

“[s]ignificantly enhanced vetting of third-party sellers” be used “to reduce the risk of counterfeits

entering the e-commerce stream.” Counterfeiters hedge against the risk of being caught and having

their websites taken down from an e-commerce platform by preemptively establishing multiple

virtual store-fronts. Exhibit 3 at p. 22. Since platforms generally do not require a seller on a third-

party marketplace to identify the underlying business entity, counterfeiters can have many different

profiles that can appear unrelated even though they are commonly owned and operated. Exhibit 3

at p. 39. Further, “E-commerce platforms create bureaucratic or technical hurdles in helping brand

owners to locate or identify sources of counterfeits and counterfeiters.” Exhibit 2 at pp. 186–187.

        20.     Defendants John Does 1-10, identified by their Aliases at Exhibit 4 (“Defendants”),

are online retailers of clothing goods, including t-shirts, sweatshirts, and masks sold to coordinate

with various famous shoes. They have targeted online sales to Illinois residents by setting up and

operating ecommerce stores using the Aliases, offered shipping to the United States, including

Illinois, accepted payment in U.S. dollars and, on information and belief, have sold Counterfeit

Products to residents of Illinois.




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       21.     Upon information and belief, Defendants are residents of Vietnam, China, or other

countries in southeast Asia who operate under a scheme of common ownership and control to

create numerous online retail stores under false names and payment accounts to sell clothing

products and offer online retail services under a false indication of origin.

       22.     Upon information and belief, Defendants also own and operate websites, run online

advertisements, run social media accounts, and own and operate seller accounts on popular

marketplaces such as Esty, eBay, and Amazon.

       23.     Defendants have created e-commerce stores under a variety of names through

popular e-commerce platforms and then advertise products directly to United States residents

through social media platforms such as Facebook.

       24.     Defendants spend significant time, effort, and funds to run targeted advertisements

geared toward United States consumers including Illinois residents on social media including

Facebook and Instagram as well as via Google Ads.

                         Defendants’ Willful Trademark Infringement

       25.     Plaintiff’s investigation of Defendants’ online stores revealed that, on the tails of

Plaintiff’s success, Defendants have co-opted the Sneaker Match Marks. Defendants use the

Sneaker Match Marks directly on their website, in product listing descriptions, on product images

in marketing, and as keywords in advertising and indexing.

       26.     Examples of Defendants’ use of the Sneaker Match Marks appear below:




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       27.    Defendants use the Sneaker Match Marks to promote and sell counterfeit goods to

customers online.

       28.    Many Defendants also deceive unknowing consumers by using the Sneaker Match

Marks without authorization within the content, text, and/or meta tags of their e-commerce stores


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in order to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for Sneaker Match Products. Other e-commerce stores operating under the

Aliases omit using Sneaker Match Marks in the item title to evade enforcement efforts while using

strategic item titles and descriptions that will trigger their listings when consumers are searching

for Sneaker Match Products.

       29.     When a United States-based customer purchases one of these clothing items from

Defendants, and if the customers are lucky, Defendants send a request to print the stolen images

on low-quality clothing products and then ship them to the customer. However, in many cases

Defendants send nothing at all.

       30.     Defendants have often posted wholesale copies of Plaintiff’s website product

listings and new collections on their own retail websites; often adding Plaintiff’s newly released

listings within days of each release.

       31.     Defendants often publish an exact copy of Plaintiff’s entire listings including

Plaintiff’s product descriptions and copy and Plaintiff’s product images containing Plaintiff’s t-

shirt/sneaker match design showing Plaintiff’s t-shirt hang tag bearing the Sneaker Match Marks.

At times Defendants even fail to remove links from the listings that still route back to Plaintiff’s

website.

       32.     Some Defendants slightly alter some of the copy, trademarks, or other aspects of

the listing, but the copying and likelihood of confusion is obvious and intentional.

       33.     Defendants’ minimal changes to Plaintiff’s Sneaker Match Marks are insufficient

to avoid trademark infringement liability because the marks are nearly identical, used on exactly

the same products, sold in the same stream of commerce, advertised to the same customers, and

the infringement is intentional.




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       34.     Defendants’ use of the exact or substantially similar marks to the Sneaker Match

Marks on the same goods and services sold in the same stream of commerce to every-day

consumers is highly likely to cause confusion as to the origin of the goods and services among

consumers.

       35.     After investigating these stores further, Sneaker Match found commonalities

between the sellers.

       36.     The sellers used the same or similar website templates, most had direct copies or

edited copies of Sneaker Match’s website product photos containing the Sneaker Match Marks,

and many sellers also often copied Sneaker Match’s red, black, and white trade dress.

       37.     Defendants use privacy services such as Cloudflare and BigCommerce to hide their

identities and avoid identification in association with the infringing domains.

       38.     Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing the e-commerce

stores operating under the Aliases so that they appear to unknowing consumers to be authorized

online retailers, outlet stores, or wholesalers. E-commerce stores operating under the Aliases look

sophisticated and accept payment in U.S. dollars via credit cards, Alipay, Amazon Pay, Western

Union and/or PayPal. E-commerce stores operating under the Aliases often include content and

images that make it very difficult for consumers to distinguish such stores from the genuine

Sneaker Match store. Sneaker Match has not licensed or authorized Defendants to use the Sneaker

Match Marks, and none of the Defendants are authorized retailers of genuine Sneaker Match

Products.




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                          Defendants’ Willful Copyright Infringement

       39.     In addition to trading on Plaintiff’s Sneaker Match Marks, Defendants also sell

shirts bearing exact copies of Plaintiff’s copyrighted works.

       40.     Defendants had access to Plaintiff’s works via his online store which is published

and available to anyone with internet access.

       41.     Upon information and belief, Defendants accessed Plaintiff’s works directly from

its website and copied entire product listings including the descriptions of the products, links

within the descriptions and the images containing the works themselves.

       42.     When a customer places an order via Defendants’ online store, if Defendants decide

to fill the order, they print the selected works on low-quality t-shirts, often overseas, and ship the

counterfeit products into the United States to the customer.

       43.     Examples of Defendants’ infringement of Plaintiffs’ Works are displayed below:




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                               Injury to Plaintiff and Consumers

       44.     Defendants’ actions described above have damaged and irreparably harmed

Sneaker Match.

       45.     Consumers have already been confused due to Defendants' use of Plaintiff’s

trademarks and copyrighted designs. Plaintiff has received contacts from confused consumers via

its customer service line with complaints regarding orders they intended to place with Sneaker

Match but were actually placed via Defendants’ websites.

       46.     If allowed to continue advertising and providing retail store services and online

retail store services under the Sneaker Match Marks, Defendants will further damage and injure

Sneaker Match’s reputation and the goodwill associated with the Sneaker Match Marks, which are

well-known to the relevant consumers as source identifiers for high-quality services.

       47.     If allowed to continue advertising and offering products and services under the

Sneaker Match Marks, Defendants will continue to create significant likelihood of consumer

confusion that will irreparably harm the public and its interest in being free from confusion.

       48.     Sneaker Match has no adequate remedy at law.

       49.     Defendants knew or should have known that its activities described above

constitute trademark infringement, trade dress infringement, copyright infringement, and unfair

competition.

       50.     Defendants acted knowingly and willfully in reckless disregard for Sneaker

Match’s rights.

       51.     Defendants intentionally monitored Plaintiff’s website for new product listings and

directly copied and pasted Plaintiff’s listings onto their own websites.




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                                 FIRST CLAIM FOR RELIEF
                         Trademark Counterfeiting and Infringement
                      Under § 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

           52.   Sneaker Match restates all prior paragraphs as if fully restated herein.

           53.   Defendants have used spurious designations that are identical to or substantially

indistinguishable from the Sneaker Match Marks on goods covered by registrations for the Sneaker

Match Marks.

           54.   Defendants’ actions as described above are likely to cause confusion mistake or

deception as to the origin, sponsorship, or approval of Defendants’ products and commercial

activities, and therefore constitute trademark infringement, false designation of origin,

counterfeiting, and unfair competition in violation of § 32(1) of the Lanham Act, 15 U.S.C. §

1114(1).

           55.   Defendants’ actions described above have, at all times relevant to this action, been

willful.

           56.   As a foreseeable, direct, and proximate cause of Defendants’ above-described

actions, Sneaker match and consumers have been and will continue being irreparably damaged.

           57.   Sneaker Match has no adequate remedy at law.


                               SECOND CLAIM FOR RELIEF
                                    Trademark Infringement
                   Under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

           58.   Sneaker Match restates all prior paragraphs as if fully restated herein.

           59.   Defendants’ actions as described above are likely to cause confusion, mistake, or

deception as to the origin, sponsorship, or approval of Defendants’ products and commercial

activities, and therefore constitute trademark infringement, false designation of origin, and unfair

competition in violation of § 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).


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           60.   Defendants’ actions described above have, at all times relevant to this action, been

willful.

           61.   As a foreseeable, direct, and proximate cause of Defendants’ above-described

actions, Sneaker Match and consumers have been and will continue being irreparably damaged.

           62.   Sneaker Match has no adequate remedy at law.

                                  THIRD CLAIM FOR RELIEF
                                    Copyright Infringement
                                 Under 17 U.S.C. §§ 106 AND 501

           63.   Sneaker Match incorporates all foregoing paragraphs as if fully restated herein.

           64.   Sneaker Match also owns a copyright registration for the following works:

                 a.     Misfit Teddy, US Copyright Registration no. VA0002200361;

                 b.     Young & Heartless Bear, US Copyright Registration no. VA0002200728;

                 c.     Misunderstood Bear, US Copyright Registration no. VA0002222471;

                 d.     Misunderstood Bunny, US Copyright Registration no. VA0002232119

                 e.     Misunderstood Monkey, US Copyright Registration no. VA0002221799

                 f.     Misunderstood Puppy, US Copyright Registration no. VA0002226336

                 g.     Misunderstood Rhino, US Copyright Registration no. VA0002230668

                 h.     Misunderstood Tiger, US Copyright Registration no. VA0002221669

                 i.     Voodoo Sneaker Bear, US Copyright Registration no. VA0002222472

                 j.     Heartless Bear, US Copyright Registration no. VA0002231696

           65.   Sneaker Match’s Works are widely disseminated via its own website and social

media accounts, and on physical products.

           66.   Defendants had access to Sneaker Match’s Works.




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       67.     Defendants downloaded Sneaker Match’s Works from the Sneaker Match website

for use in their infringement scheme.

       68.     Defendants have reproduced, prepared derivative works of, distributed copies of,

imported into the US, and displayed publicly works that are identical copies of, and substantially

similar to, Sneaker Match’s Works.

       69.     As a result of Defendants’ infringement, Sneaker Match has suffered monetary

damages.

       70.     Sneaker Match is entitled to the recovery of, at its election, statutory damages,

actual damages, Defendants’ profits, and the costs of this action.

       71.     Sneaker Match is also entitled to preliminary and permanent injunctive relief

pursuant to 17 U.S.C. § 502 and 17 U.S.C § 106.

       72.     Sneaker Match is also entitled its attorneys’ fees pursuant to 17 U.S.C. § 505 and

17 U.S.C § 106.

                                     PRAYER FOR RELIEF

   Sneaker Match respectfully requests that the Court enter the following judgment against

Defendants:

1. That the Court preliminarily and permanently enjoin and restrain Defendants, as well as their

   heirs, successors, assigns, officers, agents, and employees from:

    a. Reproducing, preparing derivative works of, distributing copies of, and displaying

        publicly Plaintiff Sneaker Match’s Works;

    b. Manufacturing, importing, advertising, promoting, offering to sell, selling, distributing,

        or transferring any products bearing Plaintiff Sneaker Match’s trademarks or any

        confusingly similar trademark; and




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    c. Aiding or assisting any other third party in subsections (a) and (b) above;

2. That the Court award Sneaker Match, at his election, his actual damages, lost profits,

   consequential damages, exemplary damages, statutory damages, and any other damages

   allowable under law;

3. That the Court enter an order of all available equitable relief, including but not limited to, an

   accounting;

4. That the Court award Sneaker Match costs and attorneys’ fees, and;

5. That the Court award Sneaker Match any other relief to which he is entitled.

                                              Respectfully submitted,

                                              Sneaker Match, LLC

November 5, 2021                              /s/ Eric Misterovich
                                              Eric Misterovich (P73422)
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                                       JURY DEMAND

      Plaintiff hereby requests a trial by jury for all eligible counts contained within this

Complaint.

                                             Respectfully submitted,


Date: November 5, 2021                       Sneaker Match, LLC


                                             /s/ Eric Misterovich
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